           Case 1:20-cv-03746-LJL Document 110 Filed 08/07/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                8/7/2020
                                                                       :
CONVERGEN ENERGY LLC, et al.,                                          :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :    20-cv-3746 (LJL)
                  -v-                                                  :
                                                                       :         ORDER
STEVEN J. BROOKS, et al.,                                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court calendared a hearing on Plaintiffs’ motion for a preliminary injunction for

Wednesday, August 12, 2020. See Dkt. No. 75. The hearing on the preliminary injunction

originally was to be held on June 2, 2020, with Plaintiffs’ brief in support of the preliminary

injunction to be filed six days before the hearing. See Dkt. No. 32. The date for the hearing on

the motion for a preliminary injunction was adjourned at the request of the parties but no

different schedule was set for briefing on the motion. See Dkt. Nos. 36, 51, 62, 75. As of

4:00 p.m. today, no papers in support of the preliminary injunction have been filed. The parties

also agreed to update the Court by July 31, 2020 at 5:00 p.m., Dkt. No. 75, but failed to do so.

Accordingly, the hearing scheduled for August 12, 2020, is CANCELLED.

        Plaintiffs are to inform the Court by letter on ECF, not to exceed three single-spaced

pages and filed no later than August 14, 2020, whether Plaintiffs are still pursuing a motion for a

preliminary injunction. If so, Plaintiffs shall include in that letter proposed agreed-upon dates for

the submission of briefs in support of and in opposition to a preliminary injunction with

supporting evidence. If the parties cannot agree on proposed dates, Plaintiffs’ letter should
         Case 1:20-cv-03746-LJL Document 110 Filed 08/07/20 Page 2 of 2




include Plaintiffs’ proposal and Defendants’ proposal.


       SO ORDERED.


Dated: August 7, 2020                              __________________________________
       New York, New York                                     LEWIS J. LIMAN
                                                          United States District Judge




                                               2
